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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                              EL DORADO DIVISION


VANESSA VINSON and MILLICENT                                                     PLAINTIFFS
TURNER, Each Individually and on
Behalf of All Others Similarly Situated


vs.                               No. 1:22-cv-1057-SOH


HOT SHOTS – EL DORADO, MAHENDRA                                                 DEFENDANTS
ENTERPRISES, LLC, and HARVINDER DOD


                              JOINT RULE 26(f) REPORT


      Plaintiffs Vanessa Vinson and Millicent Turner, each individually and on behalf of

all others similarly situated, and Defendants Hot Shots- El Dorado, Mahendra Enterprises,

LLC, and Harvinder Dod, by and through their respective undersigned counsel, submit

the following information in compliance with Federal Rule of Civil Procedure 26(f) and

Local Rule 26.1.

1.    Any changes in timing, form, or requirements of initial disclosures under Fed. R.
      Civ. P. 26(a).

      The parties agree to produce and deliver paper or electronic copies of any
      documents identified in their Initial Disclosures without a formal discovery request,
      though the parties recognize that they may be unable to produce all such
      documents on the day Initial Disclosures are due. The parties agree that any
      documents identified but not produced on the day Initial Disclosures are due are
      subject to the parties’ obligation to supplement their discovery disclosures under
      the Federal Rules of Civil Procedure.

2.    Date when initial disclosures were or will be made.

      On or before March 13, 2023.

3.    Subjects on which discovery may be needed.

      ●      All of the elements of Plaintiffs’ claims and Defendants’ defenses to those
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           claims;
     ●     Issues related to collective action certification;
     ●     Issues related to willfulness / intent; and
     ●     Damages.

4.   Whether any party will likely be requested to disclose or produce information from
     electronic or computer-based media. If so:

     (a)   whether disclosure or production will be limited to data reasonably available
           to the parties in the ordinary course of business;

           The parties anticipate that disclosure or production will be limited to data
           reasonably available to the parties in the ordinary course of business.

     (b)   the anticipated scope, cost and time required for disclosure or production of
           data beyond what is reasonably available to the parties in the ordinary
           course of business;

           Unknown at this time.

     (c)   the format and media agreed to by the parties for the production of such
           data as well as agreed procedures for such production;

           The parties will produce data in electronic format. If the data is ordinarily
           maintained in paper format, the parties agree to produce the data in
           electronic format in consecutively paginated bates numbers. The parties
           agree to produce ESI in electronic format such as PDF, except for
           spreadsheets, which should be produced in native format such as XLS.

     (d)   whether reasonable measures have been taken to preserve potentially
           discoverable data from alteration or destruction in the ordinary course of
           business or otherwise;

           The parties have been made aware of the need to maintain the relevant
           records taken in the ordinary course of business.

     (e)   other problems which the parties anticipate may arise in connection with
           electronic or computer-based discovery.

           None known at this time.

5.   Expert disclosures

     Plaintiffs’ Expert disclosures and reports should be produced by August 11, 2023.

     Defendants’ Rebuttal reports should be produced by September 11, 2023.
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6.    Date by which discovery should be completed.

      September 11, 2023.

7.    Any needed changes in limitations imposed by the Federal Rules of Civil
      Procedure.

      The parties consent to the electronic service of all documents that require service
      on an opposing party, including but not limited to Initial Disclosures,
      Interrogatories, Requests for Production of Documents, Requests for Admissions,
      and Notices of Deposition, as well as Responses to Interrogatories, Requests for
      Production of Documents, and Requests for Admission, at the primary e-mail
      address at which each attorney of record receives ECF filings in this case and to
      Plaintiff(s) at discovery@sanfordlawfirm.com. The parties agree that discovery
      may be signed by e-signature rather than by hand. The parties agree to produce
      and deliver paper or electronic copies of any documents which would ordinarily be
      produced subject to Federal Rules of Civil Procedure 26 or 34.

8.    Any Orders, e.g. protective orders, which should be entered.

      Defendants anticipate the need for a protective order and will work with Plaintiffs
      on a proposed order.

9.    Any objections to initial disclosures on the ground that mandatory disclosures are
      not appropriate in the circumstances of the action.

      None at this time.

10.   Any objections to the proposed trial date.

      None at this time.

11.   Proposed deadline for joining other parties and amending the pleadings.

      30 days before class certification, April 4, 2023.

12.   Proposed deadline for completing discovery.

      120 days before trial, September 11, 2023.

13.   Proposed deadline for filing motions other than motions for class certification.

      30 days after the close of discovery, October 11, 2023, except for motions in limine,
      which will be filed December 22, 2023.

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14.   Class certification: In the case of a class action complaint, the proposed deadline
      for the parties to file a motion for class certification.

      90 days after the 26(f) Conference, May 4, 2023.

15.   Estimated number of six-hour trial days needed.

      2 days.




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                                                Respectfully submitted,

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                                                and on Behalf of All Others
                                                Similarly Situated, PLAINTIFFS

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